

People v Wheeler (2025 NY Slip Op 01491)





People v Wheeler


2025 NY Slip Op 01491


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., BANNISTER, OGDEN, NOWAK, AND KEANE, JJ.


142 KA 23-01020

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vBRYANT WHEELER, DEFENDANT-APPELLANT. 






JULIE CIANCA, PUBLIC DEFENDER, ROCHESTER (JONATHAN GARVIN OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (LISA GRAY OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Monroe County Court (Stephen T. Miller, A.J.), rendered May 11, 2023. The judgment convicted defendant, upon his plea of guilty, of attempted arson in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Memorandum: On appeal from a judgment convicting him, upon a plea of guilty, of attempted arson in the second degree (Penal Law §§ 110.00, 150.15), defendant contends that the waiver of the right to appeal is invalid and that his sentence is unduly harsh and severe. Even assuming, arguendo, that defendant's waiver of the right to appeal is invalid and therefore does not preclude our review of his challenge to the severity of the sentence (see People v Albanese, 218 AD3d 1366, 1366-1367 [4th Dept 2023], lv denied 40 NY3d 995 [2023]; see generally People v Thomas, 34 NY3d 545, 565-566 [2019], cert denied — US —, 140 S Ct 2634 [2020]), we conclude that the sentence is not unduly harsh or severe.
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








